                          Case 1:24-cr-10090-WGY
2-6   5HYLVHG86'&0$            Document 1-2 Filed 04/03/24 Page 1 of 2
Criminal Case Cover Sheet                                                              U.S. District Court - District of Massachusetts

Place of Offense: Revere, MA               Category No.       II                    Investigating Agency                DEA

City    Revere                                   5HODWHG&DVH,QIRUPDWLRQ
                                                  6XSHUVHGLQJ,QG,QI                   &DVH1R
County       Suffolk
                                                  6DPH'HIHQGDQW                    1HZ'HIHQGDQW
                                                  0DJLVWUDWH-XGJH&DVH1XPEHU 24-7150-JCB

                                                  6HDUFK:DUUDQW&DVH1XPEHU 24-7151-JCB, 24-7152-JCB
                                                  55IURP'LVWULFWRI
Defendant Information:
                                                  ,VWKLVFDVHUHODWHGWRDQH[LVWLQJFULPLQDODFWLRQSXUVXDQWWR5XOH
                                                   K ",I\HVFDVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                   <HV       ✔ 1R
'HIHQGDQW1DPH         Jason Hunter                                                                          -XYHQLOH          G <HV        ✔ 1R
                                        ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU                  G <HV        ✔ 1R
$OLDV1DPH
$GGUHVV               Revere Street, Revere, MA

                      1976
%LUWKGDWH <URQO\ BBBBBB 661 ODVW BBBBB           M
                                                         6H[BBBBBB         5DFHBBBBBBBBBBBBBBB                        USA
                                                                                                             1DWLRQDOLW\BBBBBBBBBBBBBBBBBB

Defense Counsel if Nnown:                                                          $GGUHVV

%DU1XPEHU

U.S. Attorney Information

$86$       Katherine Ferguson                                          %DU1XPEHULIDSSOLFDEOH

Interpreter:              <HV     ✔ 1R                               /LVWODQJXDJHDQGRUGLDOHFW

Victims:            <HV     ✔ 1R          ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                 G <HV         1R

Matter to be SEALED:                    <HV       ✔ 1R
    :DUUDQW5HTXHVWHG                  5HJXODU3URFHVV              ✔,Q&XVWRG\

/Rcation Status:        Boston Police

$rrest Date            April 3, 2024

    $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                      LQ                                            
    $OUHDG\LQ6WDWH&XVWRG\DW                                                      6HUYLQJ6HQWHQFH                      $ZDLWLQJ7ULDO
    2Q3UHWULDO5HOHDVH     2UGHUHGE\                                                 RQ

Charging Document:                 ✔ &RPSODLQW                   G ,QIRUPDWLRQ                              ,QGLFWPHQW

Total # of Counts:                 G 3HWW\                       G 0LVGHPHDQRU                           ✔ )HORQ\ 1

                                          &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔        I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.

'DWH 4/3/2024                                6LJQDWXUHRI$86$
                        Case 1:24-cr-10090-WGY Document 1-2 Filed 04/03/24 Page 2 of 2
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District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant               Jason Hunter
                                                                         U.S.C. Citations
                 Index Key/Code                                    Description of Offense Charged                 Count Numbers
          21 USC 846                                   Conspiracy to distribute methamphetamine & marijuana   1
6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

 $'',7,21$/,1)250$7,21




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
